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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERlCA
ex rel. BRIAN VINCA and
JENNIFER STAUP SWEENEY Case No. 8:1 l-CV-176-T30MAP
Plaintiffs
v.

ADVANCED BIOHEALING, INC.

Defendant.
/

 

NOTICE OF ATTORNEYS’ CHARGING LIENS BY BARRY A. COHEN, P.A.,
SAADY & SAXE, P.A., AND KEVIN J. DARKEN

 

PLEASE TA_KE NOTICE that Barry A. Cohen, P.A. (“Cohen Firm”), Saady & Saxe,
P.A. (“Saady Firrn”) and Kevin J. Darken (“Darken”) do hereby, individually and jointly and
severally to the extent of their interests, assert attorney’s charging liens based upon legal work,
labor and services performed for Relator Brian Vinca in this action pursuant to a written contingent
fee contract for same (“Retention Agreernent”). These liens attach pursuant to specific provisions
of the Retention Agreement and Florida common law, as more fully set forth below.

l. Mr. Vinca and Co-Relator Jennifer Sweeney jointly entered into the Retention
Agreernent with the Cohen Firm, on Novernber 3, 2010. The Retcntion Agreement included a
provision for Consent to Referral of Case authorizing the Saady Firrn as additional attorneys
authorized to represent Mr. Vinca in this action.

2. The Retention Agreement provided, inter afia, that the Cohen Firm and the Saady

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Firm would provide the legal services identified in the Retention Agreement. These services
included presentation of Mr. Vinca’s claims to the Government through the filing of a case under
the False Clairns Act1 (“Case”) and attempting to obtain the intervention of the Government into
the Case. The Retention Agreement specifically limited the Cohen Firm’s and the Saady Firm’s
representation to preparation for and litigation of the Case. The Retention Agreement expressly
provides that “the representation contemplated under this agreement does not include any other
legal proceeding or claims that may arise, including any appeals or original proceedings in
appellate courts that result or arise from the Claims.”

3. The Retention Agreement further provided that in the event Mr. Vinca terminated
the Retention Agreernent, more than three business days after he executed it, the Cohen Finn and
the Saady Firrn would have a lien for all attorney’s services provided to Vinca and for all costs
and expenses incurred on his behalf in connection with the legal representation provided to him.
The lien also covers all fees and costs incurred to enforce the Cohen Firm’s and the Saady Firm’s
rights to monies owed them under the Retention Agreement.

4. Kevin J. Darken, a former federal prosecutor in the Middle District of Florida
who specialized in health care fraud cases, was hired by the Cohen Firm in 2002 and began filing
FCA cases for the Cohen Firm in 2004. l\/lr. Darken signed the Vinca contingent fee agreement
for the Cohen Firm; drafted the relator disclosure memorandum, drafted Vinca and eo-relator
Sweeney`s FCA complaint and amended complaint attended the relator interviews; responded to

information requests from DOJ lawyers; provided damages research and evidence to DOJ

 

‘ Relator Vinca had knowledge of and evidence showing only fraud on the Medicare program and not on other
federal programs such as the Tricare, Medicaid and Veterans Administration programsl Accordingly, as required by
Fed. R. Civ. P. ll, the Vincaijeeney complaint alleged only fraud on the Medicare program l-lowever, all
attorneys representing Mr. Vinca argued in Vinca’s first to tile motion and responses to motions by other relators
that his Comp]aint and Amended Cornplaint entitled Vinca to all FCA recoveries in all federal government
programs Prior to this Court’s ruling on Vinca’s first to tile Motion, Vinca elected to and did voluntarily settle his
first to file dispute with Relator Harvey.

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lawyers; negotiated the settlement of Relator Vinca’s retaliatory termination claim; drafted all
the first to file motions and other motions for Relators Vinca and co-re|ator Sweeney in this case;
and wrote the lengthy and detailed relator share award letter to the Department of Justice which
resulted in the 20 percent relator share offer that Mr. Vinca accepted

5. Pursuant to an internal compensation arrangement which began when Mr. Darken
started filing FCA cases for the Cohen F irm in 2004, Mr. Darken was granted an individual
interest in and ownership of an agreed percentage of fees that the Cohen Firm was due in FCA
cases filed and prosecuted by Darken. This internal compensation arrangement and Darken’s
interest in and ownership of`FCA fees applied to the Vinca/Sweeney case. This internal
compensation arrangement gives Darken the right to file his own independent charging lien in
this case. Barwick, Dillian & Lamber!, P.A. v. Ewing, 646 So.2d 776, 779-80 (Fla. 3rd DCA
1994); Traveler.r Property Casualry Company ofAmei-'icn v, Pciramormr Lake Eolcr, L.P., 2010
WL 2977981` "‘5 (M.D. Fla.. June Zl, 2010) (ci'tl`ng Ewing) (“although Ewing individually was
not a party to the contract between the Barwick firm and the client. she was protected by the
contract").

6. The Cohen Firm, the Saady Firm and Darken fully performed the work set
forth in the Retention Agreement described above, including, without limitation, presentation of
Mr. Vinca’s FCA claims to the Government. Through Darken’s, the Cohen Firm’s and the Saady
Firrn’s efforts, the Government was persuaded to and did intervene in the FCA case, even though
the Government intervenes in only a small minority of FCA cases.

7. After the Vinca/Sweeney FCA case was filed, five other relators filed FCA cases
against Advanced Biohealing/Shire.

8. [n January 2017, the Government settled Vinca’s FCA case as part of the largest

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False Claims Act case settlement in the history of Middle District of Florida, and the largest
medical device kickback FCA Settlement in the history of the United States, with Defendant paying
$350 million in damages (“Settlement”).

9. Prior to and subsequent to the Settlement, the other five relators made conflicting
claims and sought their own allocation percentages and sought to minimize Vinca’s allocation
share of the $350 million settlement

10. After the Settlement, the Cohen Firm, the Saady Firm, and Darken were required
to engage in substantial additional litigation over whether the Vinca/Sweeney claim was “first
filed”. They were also required to respond to and defend numerous motions filed by the other five
relators. These litigation efforts resulted in a ruling from this Court dated November 20, 2017 (Doc
131) that contains a very favorable allocation to Mr. Vinca and his co-relator Sweeney. Mr. Vinca
accepted the allocation awarded by this Court by choosing not to appeal this order.

l l. This favorable ruling and two voluntary settlements with Relator Harvey, expressly
agreed to and executed by Relators Vinca and Sweeney, have resulted in Relators Vinca/Sweeney
receiving credit for an approximately 70 percent allocation of the $3 50 million FCA Settlement
for purposes of determining their relator share award.

12. In a multi-relator FCA ease a relator‘s share award is determined by two
components: ( l) the percentage of the paid FCA settlement amount allocated to that particular
relator, and (2) the 15-25 percent relator share award percentage ( agreed to between the relator
and the Department oflustice or else determined by the district court) applied to the portion of
the settlement amount allocated to that particular relator. By January 201 81 Relator Vinca had
agreed to both of these components by accepting the Court`s November 20, 2017 allocation

ruling and then by agreeing to a 20 percent relator share award proposed by the Department of

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Justice.2 At that point. no further action by the district court was required for Relator Vinca to
receive his relator share award

13. By accepting the Court’s November 20, 2017 allocation ruling and then by
agreeing to the 20 percent relator share award proposed by the Department of Justice. Relator
Vinca settled his FCA relator share claim by January 2018. Accordingly, the contingency in the
Vinca Retention Agreement occurred no later than January 2018, long before Vinca`s
termination of the Cohen Firmq the Saady Firm, and Darken on l\/larch 21, 2018.3 Kr'ng v.
Nelson. 362 So.2d 727, 728 (Fla. 2“d DCA 1978) (holding that first attorneys were entitled to full
contingency amount where first attorneys negotiated a settlement and plaintiff accepted the
settlement, `“but prior to the disbursement of the funds [plaintiff] consulted with another
attomey" and the first attorneys were discharged; "Mr. King had agreed to the $8000 settlement
and it was subsequent to and not prior to his agreement to the settlement that he advised his first
attorneys that he was discharging thern`"");Cr)oper v. Ford & Sr'nclair, P.A.. 888 So.2d 683_ 690
(Fla. 4ih DCA 2004) (holding that attorney was entitled to full contingency amount "because here
there was no attempt to discharge Kelly`s attorneys until after they negotiated the settlement

offer. As the trial court correctly held. '[a]t the time of the settlementl the contract between [the

 

2 Since terminating the Cohen Firm, the Saady Firm, and Darken, Relator Vinca has not attempted to attack the
Court’s November 20, 2017 allocation ruling; has not attempted to withdraw from or repudiate his sharing
agreement with Relator Harvey; and has not attempted to withdraw his agreement to the 20 percent relator share
award proposed by the Department of Justice. Relator Vinca’s post-termination conduct demonstrates that he in fact
settled his FCA relator share award claim prior to the termination of the Cohen Firm, Saady & Saxe, and Kevin J.
Darken. Eakc'n v. United Technology Corp., 998 F.Supp. 1422, 1431 (S.D. Fla. 1998) (holding that attorney was
entitled to full contingency fee based in part on the fact that “[a]s of today, neither Eakin nor Defendant have
repudiated their agreement in court or elsewhere").

3 The Retention Agreement provides that “it is agreed that payment of the Attomeys’ fees shall be in a lump sum
payable at the time of the settlement unless otherwise agreed by the Clients and the Attorneys in writing.” Given this
contractual language and the fact that Vinca’s relator share award claim was settled by January 2018, the Cohen
Firm, Saady & Saxe, and Kevin J. Darken are entitled to the full contingency fee in the Retention Agreement.
Harrfngton v. Estate ofBatchelor, 924 So.2d 861, 862 (Fla. 3rd DCA 2006); Town of Medley v. Kimba[l, 358 So.2d
1145, l 147 (Fla. 3rd DCA 1978).

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attorneys and the estate] was completed.` The contingency requirement had been met and the
attorneys were entitled to rely upon the provisions of the written contingency fee contract to
determine the amount of their fee"); Fiefd.s' v. Klein, 946 So.2d 1 19. 121 (Fla. 4‘]‘ DCA 2007) ("‘lt
is clear that the contingency was not realized prior to Klein`s discharge" because "[t]he case was
not settled before Fields terminated Klein`s services")._ citing C.'ooper.

14. Following the district court’s November 20, 2017 order, and their acceptance of
the district court’s allocation rulings, Relators Vinca and Sweeney also negotiated and reached an
unusually favorable agreement with the Department of Justice for a relator share percentage of 20
percent.4 Given the district court’s November 20, 2017 relator allocation order and the later
agreement in January 2018 with the Department of Justice for a 20 percent relator share, the Cohen
Firm’s, Saady & Saxe, P.A.’s, and Kevin J. Darken’s work under the Retention Agreement has
concluded and the contingency fee payment called for in the Retention Agreement and due the
Cohen Firm, Saady & Saxe, and Kevin J. Darken became fully vested.

15. Attorney Barry Cohen also played a critical role in the strategy, negotiations and
arguments made to the Court and to the Department ofJustice that resulted in the Vinca
allocation and relator share percentage

16. In addition, since the Retention Agreement specifically excluded work on any
appeals, the work required by the Retention Agreement has been fully performed, Relator Vinca’s
case was concluded in the district court, and the Cohen Firm, Saady & Saxe, and Kevin J. Darken

have earned the compensation promised and agreed to by Mr. Vinca.5

 

4 On .Ianuary 25, 2018, counsel for Relators Vinca and Sweeney informed the Court that Relators Vinca and
Sweeney had reached an agreement with the Department of Justice as to their relator share percentage (Doc.147)

5 As the Eleventh Circuit has held, “[w]hether [Vinca] has grounds for a malpractice or negligence case in state
court is irrelevant” to the validity of this charging lien and to the Cohen Finn’s and Saady & Saxe’s entitlement to
be paid their full contingent fee under the Retention Agreement Zakr'ama v. Mourr! Sr'nar' Medicar' Center, 906 F.Zd
650, 653(11ch Cir. 1990).

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17. In addition to pursuing Vinca’ s allocation of the $350 million settlement, the Cohen
Firm, the Saady Firm and Darken successfully pursued and successfully settled Relator Vinca’s
individual False Claims Act retaliatory termination claim against Shire under 31 U.S.C. § 3730(h)
in January 2017. Vinca consented to and approved this individual settlement and has received and
retained the proceeds of this settlement and paid the contingency based legal fees owed on this
recovery in accordance with the terms of the Retention Agreement

18. On March 21, 2018, the Cohen Firm, Saady & Saxe, P.A. and Kevin J. Darken
received written notice from attorneys purporting to represent Mr. Vinca that their services had
been terminated immediately, notwithstanding the fact that the work under the Retention
Agreement had already been fully performed and the contingency fee due thereunder was fully
vested and had been earned. Mr. Vinca had previously approached Darken and threatened to
terminate the Cohen Firm, the Saady Firm and Darken if they would not agree to reduce their
contingent fee. lt is clear that Vinca terminated the Cohen Firm, the Saady Firm and Darken to
avoid paying the fees owed them under the Retention Agreement

19. The termination was not consensual, was without cause, and was done after the
work required by the Retention Agreement had been fully performed

20. Given the above, the Cohen Firm, the Saady Firm and Darken are entitled to
the charging liens identified in this Notice, and those liens are hereby filed so as to be recognized
and rights thereunder enforced by this Court.

21. The Cohen Firm, the Saady Firm, and Darken request that this Court order that the
full relator share due Vinca be deposited into the registry of this Court pending resolution by this

Court of the charging liens. See Zaklama v. Mount Sinaz` Mea'ical Center, 906 F.Zd 650, 652 (11“‘

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Cir. 1990) (district court deposited proceeds of plaintist employment discrimination claim in
court registry pending resolution of first attorney’s charging lien).

22. This Court has jurisdiction over “the resolution of disputes between a party to a
federal lawsuit and that party’s attorneys over the proper amount of fees due the attorneys for work
performed in the lawsuit.” Bruton v. Carniva[ Corp., 916 F.Supp. 2d 1262, 1265 (S.D. Fla. 2012),
citing Zaklama.

WHEREFORE, notice is given to all interested parties or affected parties and persons of
Barry A. Cohen, P.A.’s, Saady & Saxe, P.A.’s, and Kevin J. Darken’s charging liens in this case.
Dated: May ll, 2018

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 15th day of May 2018, a true and correct copy of the foregoing
Notz`ce OfArtorneys’ Charging Lfens By Barry A. Cohen, P.A., Saady & Saxe, P.A., And Kevin l
Darken has been furnished by CMfECF to all counsel of record; and by United States mail to Noel
McDonell and Bryen Hill, Macfarlane, Ferguson & McMullen, One Tampa City Center, Suite

2000, 201 North Franklin Street, Tampa, PL 33602.

/s/ Kevin J. Darken
Kevin J. Darken

